          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR43


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
ROBERT BLAKE KELLER                      )
                                         )


     THIS MATTER is before the Court on Defendant’s pro se motion for

return of property pursuant to Fed. R. Crim. P. 41(g), filed May 18, 2009,

and the Government’s second response thereto filed July 22, 2009.

Defendant has not replied to the Government’s second response and the

time for doing so has expired.

     The Defendant alleges that on four occasions during 2005, various

state law enforcement officers executed search warrants and traffic stops

during which a computer tower, contraband, camera equipment, and over

$7,000 in U.S. currency was seized from him by the State of North

Carolina. Motion, at 1-2. According to the Defendant, the state charges

that resulted from these seizures were eventually dismissed. Id.




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Defendant also argues that real property, i.e., his place of business located

at 504 West Main Street, Glen Alpine, North Carolina, seized in this

criminal action is no longer needed by the Government since there is no

appeal pending and the property is not “subject to civil forfeiture.” Id. at 2.

The Court previously denied the Defendant’s motion for the return of the

real property as well as his motion for an order enjoining its sale. See

Order, filed June 12, 2009, at 4.

      In its second response, the Government states that it has no

objection to the return of the computer tower which is currently in the

custody of the Burke County Sheriff’s Department. The Defendant may

arrange for the release of such property by contacting that office directly.

As to the amount of currency Defendant alleges was seized during his

various arrests, the Government states that a total of $9,328.00 was

actually seized from the Defendant. Government’s Second Response,

at 2. Of that amount, $4,240 was administratively forfeited by the Drug

Enforcement Administration and the remaining $5,088 was paid toward

the $16,940.28 drug tax assessed by the North Carolina Department of

Revenue. Id. at 2; see also Exhibits A and B, attached to

Government’s Second Response. The Defendant has filed no response



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or objection to these facts as outlined by the Government. Therefore, the

Court finds for the reasons stated in the Government’s Second Response,

the Defendant’s motion for return of the seized currency should be denied.

     IT IS, THEREFORE, ORDERED that Defendant’s motion for return of

property is ALLOWED IN PART, and the Defendant may contact the Burke

County Sheriff’s Department directly regarding the return of the computer

tower referenced in his motion.

     IT IS FURTHER ORDERED that the remaining portion of the

Defendant’s motion for return of property is DENIED.



                                      Signed: August 11, 2009




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